 Case: 4:17-cv-02659-AGF Doc. #: 105 Filed: 10/23/20 Page: 1 of 5 PageID #: 498




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

LAUTHA V. ANDERSON, SR.,                  )
                                          )
                Plaintiff,                )
                                          )
        v.                                )      Case No. 4:17-CV-02659-AGF
                                          )
CHANTAY GODERT, et al.,                   )
                                          )
                Defendants.               )

                                 DEFENDANTS’ TRIAL BRIEF

        Defendants Monica Rubino, Jeremy Hansen, and Taylor Preston (“MDOC

Defendants”), through counsel, and pursuant to this Court’s Order Relating to Trial (Doc.

98), file their trial brief.

I.      Factual Background

        Plaintiff Lautha Anderson (“Plaintiff”) is a prisoner in the Missouri Department of

Corrections (“MDOC”) and at all times relevant to his complaint was incarcerated at the

Northeast Correctional Center in Bowling Green, Missouri (“NECC”). Plaintiff brought

this action under 42 U.S.C. § 1983 for alleged violations of the Eighth Amendment to the

United States Constitution. Plaintiff alleges that Defendants failed to protect him from

assault by another prisoner.

        Plaintiff was in the administrative segregation unit at NECC because he was being

investigated on allegations that he conspired to smuggle narcotics into NECC. On

November 18, 2016, Defendant Preston, a Corrections Case Manager, Defendant

Henderson, a Corrections Officer III (Lieutenant), and Acting Functional Unit Manager
Case: 4:17-cv-02659-AGF Doc. #: 105 Filed: 10/23/20 Page: 2 of 5 PageID #: 499




Robert Shane Henderson conducted a classification hearing to determine whether Plaintiff

should remain in administrative segregation or be released to general population.

Defendant Rubino did not participate in this hearing. Plaintiff was not present at the

classification hearing because he refused take advantage of the opportunity to participate.

Defendants Hansen, Defendant Preston, and Henderson recommended that Plaintiff be

released to general population and an agent of the warden approved that recommendation.

       Defendant Rubino, a Corrections Officer II (Sergeant), informed Plaintiff that he

was being released to general population and told him to pack his things. Plaintiff asserts

that Defendants Rubino, Preston, and Hansen were all present at his cell when he was told

he was going to general population. He also asserts that he told all three Defendants at his

cell that his life would be at risk in general population from a prison gang called Family

Value because they would think he was a snitch. Defendant Rubino was at Plaintiff’s cell

and admits that he stated he did not want to leave administrative segregation. Defendant

Rubino, however, denies that Plaintiff ever told her that his life would be at risk from

anyone in general population. Defendants Preston and Hansen deny that they were present

at Plaintiff’s cell when he was told he was going to general population and deny that he

ever told them that his life would be at risk from anyone in general population. Plaintiff

did move from administrative segregation to a general population housing unit on

November 18, 2016.

       After his move to general population, Plaintiff alleges that, when he was on his way

to the dining room on November 20, 2016, a group of prisoners associated with a prison

gang known as Family Value accosted him. He alleges he continued to the dining room
                                             2
 Case: 4:17-cv-02659-AGF Doc. #: 105 Filed: 10/23/20 Page: 3 of 5 PageID #: 500




and that, when he got to the door of the dining hall, he felt something crease his neck. He

alleges that he continued into the dining hall, picked up his meal, and sat down to eat. He

alleges that he did not know his neck had been cut until another prisoner told him he was

bleeding. He alleges that he then left the dining hall and went to his cell. He did not report

the incident to prison staff until the following morning (November 21).

       Prison staff escorted Plaintiff to medical where a nurse found him to have a 3 ½ inch

laceration on his neck.      After the nurse treated Plaintiff, he was returned to the

administrative segregation unit.

       In the Informal Resolution Request (step 1 of the prison grievance process) Plaintiff

submitted on December 7, 2016, Plaintiff asked to be released to general population.

       II.    Factual Issues

       The primary factual issues are based on the credibility of the parties. Plaintiff alleges

that all three MDOC Defendants came to his cell, that he told them his life would be at risk

in general population, and that he named the specific group of prisoners that was

threatening him, but that the MDOC Defendants ignored him and sent him to general

population anyway. Defendant Rubino was at Plaintiff’s cell that day, but denies that

Plaintiff ever told her about any risks to his life if he were moved to general population.

Defendants Hansen and Preston deny that they were at Plaintiff’s cell at all and deny that

Plaintiff ever told them about any risks to his life if he were moved to general population.

III.   Legal Issues

       To prove an Eighth Amendment violation:



                                               3
Case: 4:17-cv-02659-AGF Doc. #: 105 Filed: 10/23/20 Page: 4 of 5 PageID #: 501




       a prisoner must satisfy two requirements, one objective and one subjective.
       The first requirement tests whether, viewed objectively, the deprivation of
       rights was sufficiently serious. Id. The second requirement is subjective and
       requires that the inmate prove that the prison officials had a “sufficiently
       culpable state of mind.”

Irving v. Dormire, 519 F.3d 441, 446 (8th Cir. 2008), citing Farmer v. Brennan, 511 U.S.

825, 834 (1994). In a failure to protect claim, to be liable for deliberate indifference, “the

official must both be aware of the facts from which the inference could be drawn that a

substantial risk of serious harm exists, and he must also draw the inference.” Farmer, 511

U.S. at 837.

       “[T]hreats between inmates are common and do not, under all circumstances, serve

to impute actual knowledge of a substantial risk of harm.” Prater v. Dahm, 89 F.3d 538,

541 (8th Cir. 1996). “An inmate's complaints of ‘general fear for his safety’ do not

establish that a defendant ‘acted with deliberate indifference by not placing him in

protective custody.’” Jones v. Wallace, 641 F. App’x 665, 666 (8th Cir. 2016) (quoting

Robinson v. Cavanaugh, 20 F.3d 892, 895 (8th Cir.1994)).

       Plaintiff never informed Defendants of any danger he may have faced, as he refused

to participate in his administrative segregation hearing by his own choice and did not

inform Defendant Rubino about any danger he may have faced.

IV. Conclusion

       Plaintiff did not inform Defendants Monica Rubino, Jeremy Hansen, or Taylor

Preston that he believed his life would be at risk if he were moved to general population.

Defendants did not possess knowledge of a substantial risk of serious harm to Plaintiff’s



                                              4
Case: 4:17-cv-02659-AGF Doc. #: 105 Filed: 10/23/20 Page: 5 of 5 PageID #: 502




health or safety if he were moved from general population. Defendants did not draw an

inference that such a risk existed.

                                         Respectfully submitted,

                                         ERIC S. SCHMITT
                                         Missouri Attorney General

                                         /s/ Michael Pritchett
                                         Michael Pritchett, Mo Bar No. 33848
                                         Assistant Attorney General
                                         James W. LeCompte III, Mo Bar No. 72899
                                         Assistant Attorney General
                                         Missouri Attorney General’s Office
                                         P.O. Box 899
                                         Jefferson City, Missouri 65102
                                         Telephone: (573)751-8864 (Pritchett)
                                                       (573)821-3616 (LeCompte)
                                         Fax:          (573)751-9456
                                         Email: Michael.Pritchett@ago.mo.gov
                                         Email: Wil.LeCompte@ago.mo.gov

                                         ATTORNEYS FOR DEFENDANTS
                                         RUBINO, PRESTON, AND HANSEN


                             CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of October, 2020, I electronically filed the

foregoing with the Clerk of the Court’s ECF system which sent notice to:

       James W. Schottel, Jr.
       Schottel & Associates, P.C.
       906 Olive Street, PH
       St. Louis, MO 63101
       jwsj@schotteljustice.com
       Attorney for Plaintiff

                                         /s/ Michael Pritchett
                                         Assistant Attorney General


                                            5
